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                IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GEORGE PHELPS,                                JURY DEMANDED

     Plaintiff;                               Civil Action

v.                                                  2:21-cv-02858
                                              No. _____________________

COLLEGIATE HOUSING SERVICES,
INC.,

     Defendant.


                                    COMPLAINT

     Plaintiff, George Phelps, by and through his undersigned

counsel, files this Complaint and avers as follows:


                          PARTIES AND JURISDICTION

  1. Plaintiff,     George        Phelps    (“Plaintiff”),         is     an     adult

individual    residing       in     Kennett       Square,       Chester        County,

Pennsylvania.

  2. Upon information and belief, Defendant Collegiate Housing

Services,    Inc.       (“Defendant”),      is    an     Indiana        corporation,

headquartered in Indianapolis, Indiana, with a business address of

750 Pennsylvania Drive, Exton, Chester County, Pennsylvania 19341.

  3. At all times material hereto, Plaintiff was an employee of

Defendant    at   750    Pennsylvania      Drive,      Exton,   Chester        County,

Pennsylvania 19341.




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  4. At    all    times    material   hereto,      Defendant     was   Plaintiff’s

employer     at    750    Pennsylvania    Drive,     Exton,      Chester   County,

Pennsylvania 19341.

  5. At all times material hereto, Defendant acted by and through

their agents, servants, and employees, each of whom acted at all

times relevant herein in the course and scope of their employment

with and for Defendant.

  6. Plaintiff has exhausted his administrative remedies pursuant

to the Equal Employment Opportunity Act. (See Exhibit “A”, a true

and correct copy of the “Notice of Right to Sue” issued by the

Equal Employment Opportunity Commission.)

  7. This action is instituted pursuant to Title VII of the Civil

Rights    Act     of   1964,   42   U.S.C.   §     2000e,   et    seq.,    and   the

Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.

  8. Jurisdiction is conferred by 28 U.S.C. § 1331 and § 1343.

  9. Supplemental jurisdiction over the Plaintiff’s state law

claims is conferred pursuant to 28 U.S.C. § 1367.

 10. The venue is properly laid in this district because Defendant

conducts business in this district and because a substantial part

of the acts and omissions giving rise to the claims set forth

herein occurred in this judicial district. 28 U.S.C. §§ 1391(b)(1)

and (b)(2). Plaintiff was working in the Eastern District of

Pennsylvania at the time of the illegal conduct by Defendant, as

set forth herein.

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                                OPERATIVE FACTS

 11. Plaintiff is male.

 12. In or around April of 2018, Defendant hired Plaintiff as an

Apartment Inspector at its location in Exton, Pennsylvania.

 13.    Plaintiff was qualified for his position as an Apartment

Inspector, and performed all of his job duties to Defendant’s

satisfaction and without complaint or issue.

 14. Upon    beginning    his    employment      with   Defendant,   Plaintiff

experienced sexual harassment from his Supervisor, Jennifer Lahr.

 15. The sexual harassment by Ms. Lahr included, but is not limited

to, the following:

       a. Subjecting     Plaintiff     to     sexually-explicit       stories,

         including one where she once dated a man who “wouldn’t go

         all the way” while graphically explaining the conduct they

         engaged in;

       b. Using code words/language to talk about sexual intercourse,

         for example, Ms. Lahr told Plaintiff, “no asparagus this

         weekend,” to indicate that she had not engaged in sexual

         intercourse; and,

       c. Nicknaming Plaintiff, “Slutty Marine,” and writing such on

         his birthday card.

 16. On or about August 05, 2019, Plaintiff called Defendant’s

National Director, Amanda Wiley, to file a hostile work environment

and sexual harassment complaint against Ms. Lahr.

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 17. On or about August 09, 2019, Plaintiff was terminated by Ms.

Lahr for allegedly not having inspected an apartment and failing

to upload the photos to the Rent Manager application on July 15,

2019, even though Ms. Lahr and the IT Department were aware that

the   application   was   experiencing   technical   issues   based    upon

Plaintiff’s report of the pictures failing to upload.


                            CAUSES OF ACTION

                                Count I
             Unlawful Supervisory Harassment/Hostile Work
               Environment Based on Sex in Violation of
              Title VII of the Civil Rights Act of 1964,
               42 U.S.C. § 2000e, et seq. (“Title VII”)

 18. By way of reference, Plaintiff repeats and incorporates each

and every foregoing paragraph as if fully set forth herein.

 19. Plaintiff, who is male, is a member of a class protected by

Title VII, i.e. sex.

 20. Plaintiff is an “employee” of Defendant as such term is

defined pursuant to Title VII.

 21. Defendant is an “employer” of Plaintiff as such term is

defined pursuant to Title VII.

 22. Plaintiff was subjected to sexual harassment/hostile work

environment as described above by his Supervisor, Jennifer Lahr.

 23. Ms. Lahr’s conduct was not welcomed by Plaintiff.

 24. Ms. Lahr’s conduct was motivated by the fact that Plaintiff

is a male.


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 25. The conduct was so severe or pervasive that a reasonable

person    in   Plaintiff’s       position     would     find     Plaintiff’s    work

environment to be hostile or abusive.

 26. Plaintiff believed his work environment to be hostile or

abusive as a result of Ms. Lahr’s conduct.

 27. Defendant failed to prevent or cease the harassment by Ms.

Lahr.

 28. As    such,      Defendant’s      actions   are    an   unlawful      employment

practice under Title VII.

 29. As    a   proximate       result   of   Defendant’s       conduct,     Plaintiff

sustained significant damages, including, but not limited to:

great     economic      loss,     future     lost      earning    capacity,     lost

opportunity, loss of future wages, loss of front pay, loss of back

pay, as well as emotional distress, mental anguish, humiliation,

pain and suffering, consequential damages, and Plaintiff has also

sustained      work    loss,    loss    of   opportunity,        and   a   permanent

diminution of earning power and capacity and a claim is made

therefore.

 30. As a result of Defendant’s malicious or reckless indifference

to Plaintiff’s rights, Plaintiff demands punitive damages.

 31. Pursuant to Section 704(a) of Title VII, Plaintiff demands

attorneys’ fees and costs.




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                                 Count II
               Unlawful Supervisory Harassment/Hostile Work
               Environment Based on Sex in Violation of the
                Pennsylvania Human Relations Act, 43 P.S. §
                           951, et seq. (“PHRA”)

 32. By way of reference, Plaintiff repeats and incorporates each

and every foregoing paragraph as if fully set forth herein.

 33. Plaintiff, who is male, is a member of a class protected by

the PHRA, i.e. sex.

 34. Plaintiff is an “employee” of Defendant and “person” as such

terms are defined pursuant to the PHRA.

 35. Defendant is an “employer” of Plaintiff as such term is

defined pursuant to the PHRA.

 36. Plaintiff was subjected to sexual harassment/hostile work

environment as described above by his Supervisor, Jennifer Lahr.

 37. Ms. Lahr’s conduct was not welcomed by Plaintiff.

 38. Ms. Lahr’s conduct was motivated by the fact that Plaintiff

is a male.

 39. The conduct was so severe or pervasive that a reasonable

person    in    Plaintiff’s   position    would   find   Plaintiff’s     work

environment to be hostile or abusive.

 40. Plaintiff believed his work environment to be hostile or

abusive as a result of Ms. Lahr’s conduct.

 41. Defendant failed to prevent or cease the harassment by Ms.

Lahr.



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 42. As    such,      Defendant’s      actions   are    an   unlawful      employment

practice under the PHRA.

 43. As    a   proximate       result   of   Defendant’s      conduct,      Plaintiff

sustained significant damages, including, but not limited to:

great     economic      loss,     future     lost      earning    capacity,     lost

opportunity, loss of future wages, loss of front pay, loss of back

pay, as well as emotional distress, mental anguish, humiliation,

pain and suffering, consequential damages, and Plaintiff has also

sustained      work    loss,    loss    of   opportunity,        and   a   permanent

diminution of earning power and capacity and a claim is made

therefore.

 44. Pursuant to the PHRA, Plaintiff demands attorneys’ fees and

costs.


                                 Count III
               Unlawful Retaliation/Wrongful Termination in
                Violation of Title VII of the Civil Rights
                  Act of 1964, 42 U.S.C. § 2000e, et seq.
                               (“Title VII”)

 45. By way of reference, Plaintiff repeats and incorporates each

and every foregoing paragraph as if fully set forth herein.

 46. Plaintiff is an “employee” of Defendant as such term is

defined pursuant to Title VII.

 47. Defendant is an “employer” of Plaintiff as such term is

defined pursuant to Title VII.




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 48. Plaintiff engaged in activity protected by Title VII when he

called Defendant’s National Director, Amanda Wiley, to file a

hostile work environment and sexual harassment complaint against

Ms. Lahr on or about August 05, 2019.

 49. Plaintiff was subjected to termination of his employment, a

materially adverse action, on or about August 09, 2019.

 50. The adverse action taken against Plaintiff occurred because

of his engagement in protected activity.

 51. Any non-retaliatory reasons provided by Defendant for the

adverse action taken against Plaintiff are pretextual.

 52. As    such,      Defendant’s       decision     to   terminate   Plaintiff’s

employment is a retaliatory action prohibited by Title VII.

 53. As    a   proximate       result   of    Defendant’s    conduct,     Plaintiff

sustained significant damages, including, but not limited to:

great     economic     loss,      future      lost    earning    capacity,     lost

opportunity, loss of future wages, loss of front pay, loss of back

pay, as well as emotional distress, mental anguish, humiliation,

pain and suffering, consequential damages, and Plaintiff has also

sustained      work    loss,    loss     of   opportunity,      and   a   permanent

diminution of earning power and capacity and a claim is made

therefore.

 54. As a result of Defendant’s malicious or reckless indifference

to Plaintiff’s rights, Plaintiff demands punitive damages.



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 55. Pursuant to Section 704(a) of Title VII, Plaintiff demands

attorneys’ fees and costs.


                             Count IV
           Unlawful Retaliation/Wrongful Termination in
                Violation of the Pennsylvania Human
               Relations Act, 43 P.S. § 951, et seq.
                             (“PHRA”)

 56. By way of reference, Plaintiff repeats and incorporates each

and every foregoing paragraph as if fully set forth herein.

 57. Plaintiff is an “employee” of Defendant and “person” as such

terms are defined pursuant to the PHRA.

 58. Defendant is an “employer” of Plaintiff as such term is

defined pursuant to the PHRA.

 59. Plaintiff engaged in activity protected by the PHRA when he

called Defendant’s National Director, Amanda Wiley, to file a

hostile work environment and sexual harassment complaint against

Ms. Lahr on or about August 05, 2019.

 60. Plaintiff was subjected to termination of his employment, a

materially adverse action, on or about August 09, 2019.

 61. The adverse action taken against Plaintiff occurred because

of his engagement in protected activity.

 62. Any non-retaliatory reasons provided by Defendant for the

adverse action taken against Plaintiff are pretextual.

 63. As   such,   Defendant’s    decision      to   terminate   Plaintiff’s

employment is a retaliatory action prohibited by the PHRA.


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 64. As    a   proximate      result    of   Defendant’s    conduct,      Plaintiff

sustained significant damages, including, but not limited to:

great     economic     loss,     future      lost   earning    capacity,          lost

opportunity, loss of future wages, loss of front pay, loss of back

pay, as well as emotional distress, mental anguish, humiliation,

pain and suffering, consequential damages, and Plaintiff has also

sustained      work   loss,    loss     of   opportunity,     and    a    permanent

diminution of earning power and capacity and a claim is made

therefore.

 65. Pursuant to the PHRA, Plaintiff demands attorneys’ fees and

costs.


                                RELIEF REQUESTED

     WHEREFORE, Plaintiff, George Phelps, demands judgment in his

favor against Defendant, Collegiate Housing Services, Inc., in an

amount in excess of $150,000.00 together with:

     A. Compensatory damages, including but not limited to: back

          pay, front pay, past lost wages, future lost wages, lost

          pay increases, lost pay incentives, lost opportunity, lost

          benefits,     lost     future      earning     capacity,       injury     to

          reputation,      mental      and   emotional     distress,      pain     and

          suffering;

     B. Punitive damages;

     C. Attorneys’ fees and costs of suit;


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     D. Interest, delay damages; and

     E. Any other further relief this Court deems just, proper,

        and equitable.




                            Respectfully Submitted,

                            Law Offices of Eric A. Shore, P.C.

                            By:
                            Yvette C. Cave, Esq. (PA # 329607)
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                            Attorneys for Plaintiff, George Phelps


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                                    VERIFICATION

     I, George Phelps, Plaintiff in the within action, verify that
I have reviewed the facts set forth in this Complaint, and the
facts set forth are true and correct to the best of my knowledge,
information, and belief. This statement is made subject to the
penalties of Section 4904 of the Crimes Code (18 PA. C.S. § 4904)
related to unsworn falsification to authorities. I verify that I
am submitting this Complaint under penalty of perjury.

                            Electronically Signed                2021-06-24 17:22:04 UTC - 107.77.202.72




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                            George Phelps
                            Plaintiff

Dated: 06/24/2021




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